Case 8:19-bk-01506-RCT Doc 1 Filed 02/25/19 Page 1 of 38

Fi|l in this information to identify your case:

 

United States Bankruptcy Court forthe:
Midd|e Districl of Florida

Case number (irknown): Chapter you are filing under:
Chapter 7
Cl Chapter11

Clch t 12 _ l l
El ch::i::m \;l Check if this is an

amended Hling

Ofticia| Form 101
Vo|untary Petition for lndividuals Fi|ing for Bankruptcy mm

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-cat|ed a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct

information |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

motify yourself

1. Your full name

 

 

About Debtor 1: About Debtor 2 (Spouse On|y in a Joint Case):

Write the name that is on your John
government-issued picture

 

 

identification (for examplel F"Sl name First name

your driver’s license or C|aude

passport). Midd|e name Nliddle name
Bodziak

Bring your picture
identification to your meeting '-331 name L@Sl name
with the trustee

 

 

 

 

 

 

 

 

 

 

 

cum (sr.. Jr.` ll. nn suffix (sr., Jr., ll, lll)
2. A|| other names you Jack
have used m the last 8 First name First name
years C|aude
|nc|ude your married or Middle name Middle name
maiden names BOdZiak
Last name Last name
First name First name
Midd|e name Midd|e name
Last name Last name
3. On|y the last 4 digits of
your Social Security XXX _ XX _ _9 aa_ _1_ 9_ x)<)< - xx - _ _ __H___ _
number or federal 0R oR
individual Taxpayer
identification number 9XX _ XX ____ __ _ _ 9 XX _ XX ___ _ __ _
(lT|N)

Officia| Form 101 Vo|untary Petition for individuals Fi|ing for Bankruptcy Page 1

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oebiori JOhn C|aude Bodziak

 

Firsl Nsme Middle blame

4. Any business names
and Employer
identification Numbers
(EIN) you have used in
the last B years

include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to tile for
bankruptcy

Ofiicia| Form 101

Lasl Name

About Debtor1:

n | have not used any business names or E|Ns.

Case number firinown:

About Debtor 2 (Spouse Oniy in a Joint Case):

n l have not used any business names or Ele_

 

Elusiness name

 

Business name

 

Business name

T-

T_

215 Nina Street NE

 

Business name

M_

if Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street

St. Petersburg FL 33704

Cify state ziP code city stare zip code
Pine|las

County County

if your mailing address is different from the one
above, till it in here. Note that the court will send
any notices to you at this mailing address

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

Number Street Number Street

F'.O. Box P.O. Box

Cily Siate Z|P Code Ciiy State ZiP Code
Check one: Check one.'

g Over the last 180 days before filing this petition,
i have lived in this district longerthan in any
other district.

Cl l have another reason Exp|ain.
(See 28 U.S.C.§1408.)

 

 

 

 

El Overthe last 180 days before filing this petitianl
i have lived in this district longer than in any
other districtl

L_.l i have another reason Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Vo|untary Petition for individuals Fi|ing for Bankruptcy Page 2

Debtor 1

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Firsl Name

John Ciaude Bodzial<

Middls Nai'rie

Case number qrrknuwni
l.asi Name

mTel| the Court About ¥our Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to tile
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
afiiliate?

Do you rent your
residence?

OFFicial Form 101

Check one. (For a brief description of each. see Not‘ice Required by 11 U.S.C. § 342(b) for lndividuais Filing
for Bankruptcy (Fom'i 2010)). Aiso, go to the top of page 1 and check the appropriate box.

2 Chapter 7

m Chapter 11
El chapter 12
[l Chapter 13

2 l will pay the entire fee when l tile my petition P|ease check with the clerk's oche in your
local court for more details about how you may pay. Typii:a|lyl if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

El i need to pay the fee in installments if you choose this option, sign and attach the
Applioation for individuals to Pay The Fiiing Fee in installments (thcia| Form 103A).

l:l l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By |aw, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must till out the App!ication to Have the
Chapter 7 Filing Fee Waived (Ochial Form 103B) and tile it with your petition

 

 

 

 

cl No
g Yes‘ mgmt Middie Disirici When 04/23/2018 am number ie-BK-oszsi-sw
MM f DD i YY¥Y
Dismd lvliddle Disirici When 12/20/2017 case number 17-10446-8T7
M|Vll DD i‘i’YYY
Distnct When Case number
MM i DD .'YY¥Y
2 No
n Yes. Debtor Relationship to you
District When Case number. if known
MM.'DD i¥YYY
Debtor Relationship to you
District When Case number, if known
MM i DD 1' YYY‘(
a No. Go to line 12.
cl Yes. Has your landlord obtained an eviction judgment against you?

Cl No. so to line 12.

Cl Yes. Fiil out lniliai Statement About an Eviclion Judgmeril Againsi You (Fonn 101A) and file it as
part of this bankruptcy petition.

Vo|untary Petition for individuals Fi|ing for Bankruptcy page 3

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Debtor 1 John Claude Bodziak

Case number uranium
Flrsl Name liillddle Name Last Name

 

mileport About Any Businesses ‘fou Own as a Sole Proprietor

 

12. Are you a sole proprietor 2 No_ 50 to part 4_
of any full- or part-time
business? cl Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

aco oration. a nershi ,or
LLC_rp p rt p Number Street

 

Name ot business. if any

 

lt you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition

 

 

City Stete ZiP Code

Checl< the appropriate box lo describe your business.'

\;l Hea|th Care Business (as delined in 11 U.S.C. § 101(27A))
\;l Single Asset Real Estate (as defined in 11 U_S.C. § 101(51B))
El stockbroker (as denied in 11 u.s.c. § 101(53/-\))

m Comrnodity Broker(as defined in 11 U.S.C. § 101(6))

n None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your _
Bankruptcy Code and most recent balance sheet. statement of operations. cash-flow statement and federal income tax return or if

are you a gma” business any of these documents do not exist. follow the procedure in 11 U.S.C. § 1116(1)(13).
debtor?
For a definition of small

business deblOr, 866 [;l No. l am tiling under Chapter 11. but lam NOT a small business debtor according to the dennition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

a No. i am not filing under Chapter 11.

El Yes. l arn nling under Chapter 11 and l am a small business debtor according to the deiinition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That No.-eds immediate Attention

14. Do you own or have any 2 No
property that poses or is _
alleged to pose a threat E] Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any
property that needs

. . . . . . ,7
immediate attention? if immediate attention is needed. why is rt needed.

 

For example, do you own

 

perishable goods. or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the propeity?

 

Number Slreei

 

 

City Stale Z|P Code

Oi’Hcial Form 101 Vo|untary Petition for individuals Fi|ing for Bankruptcy Dag€ 4

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centum John C|aucle Bodziak

Firsl Name Middle Name

Lasl Name

Case number qirimowni

 

m Explain ¥our Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you tile for
bankruptcy. You must
truthfully check one of the
following choices. |f you
cannot do so. you are not
eligible to fi|e.

lt you file anyway. the court
can dismiss your case, you
will lose whatever filing fee
you paid. and your creditors
can begin collection activities
again.

Off`icial FonTi 101

About Debtor 1:

You must check one:

g l received a briefing from ari approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any. that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy ofthe certificate and payment
planl if any.

\;l l certify that l asked for credit counseiing
services from an approved agency, but was
unable to obtain those services during the 7
days after| made my requestl and exigent
circumstances merit a BO-day temporary waiver
of the requirement

To ask for a 150-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the brieHng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must tile a certificate from the approved
agency, along with a copy of the payment plan you
developedl if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

cl | am not required to receive a briefing about
credit counseling because of:

El lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about linances.

l;l Disability. lilly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

lt you believe you are not required to receive a
briefing about credit counselingl you must file a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Fi|ing for

About Debtor 2 tSpouse Only in a Joint Case):

You must check orie:

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any. that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petitionl but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certihcate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
devefoped, if any. lf you do not do so, your case
may be dismissed

Any extension of the 150-day deadline is granted

only for cause and is limited to a maximum of 15
days.

El l am not required to receive a briefing about
credit counseling because of:

El lncapacity. l have a mental illness or a mental
dehciency that makes me
incapable of realizing or making
rational decisions about finances

n Disability. lVly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet even after l
reasonably tried to do so.

m Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court

Bankruptcy page 5

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named John C|aude Bodziak

 

Firsl Name Middle Name

Wswer These Questions for Reporting Purposes

16. What kind of debts do
you have?

11. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

13. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

For you

Ofticia| Form 101

l.ast Name

Case number iirlmowiil

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a persona|, famiiy. or household purpose."

l No. Gotoiinoleb.
Cl Yes. Go to line 17.

16b_ Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business cr investment

n No. Goto line 16c.
El Yoo. Go to lino 17.

160. State the type of debts you owe that are not consumer debts or business debts.

 

n No. l arn not filing under Chapterr 7. Go to line 18.

a Yes. l am filing under Chapter 7, Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

g No
[:l Yes

E 149

El 50-99
El 100-199
El 200-999

El $0-$50,000

|Zl $50,001-$100.000
2 $100.001-$500,000
Cl $500,001-$1 million

Cl $0-$50.000

U $50,001-$100,000
EJ $100,001-$500.000
Cl $500,001-31 million

El 1.000-5,000
ill 5,001-10,000
El 10.001-25.000

Cl $1,000,001-$10 miilion

|Il $10,000.001-$50 million
E] $50,000.001-$100 million
El $100,000,001-$500 million

2 $1,000,001-$10 million

El $10.000,001-$50 million
El $50,000,001-$100 million
El $100.000,001-$500 million

El 25,001~50.000
El 50,001-100,000
El Moro than 100,000

C] $500.000,001-$1 billion

El $1,000,000.001-$10 billion
El $10,000,000.001-$50 billion
El lvloi-oihon 350 billion

Cl $500.000,001-$1 billion

Cl $1,000.000,001-$10 billion
El 510,000.000.001-$50 billion
El l\iiore than $50 billion

l have examined this petition, and l declare under penalty of perjury that the infon'nation provided is true and

correct.

|f| have chosen to file under Chapter 7, | arn aware that l may proceed. ifeligible, under Chapter 7, 11,12. or 13

of title 11 , United States Code. l understand the relief available under each

under Chapter 7.

chapter, and l choose to proceed

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me i"lll out
this documentl l have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code. specified in this petition.

l understand making a false statement concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or

18 u.s.c. §§ 152, 1341, 1519, and 3571.

X /o/.iohn c_ Bodziak

X

 

Signature of Debtor 1
Executed on 02/22/2019

imprisonment for up to 20 years, or both.

 

Signature of Debtor 2

Executed on
Mlvli DD ivYYY

MM l' DD i'YYV¥

Vo|untary Petition for individuals Fi|ing for Bankruptcy

page 6

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oebmri John C|aude Bodziak

Case number lirimownl
l-`irs\ Name Midd|e Name Lasl Name

|l the attorney for the debtor(s) named in this petition, declare that t have informed the debtor(s) about eligibility
to proceed under Chapter T, 11. 12. or 13 of title 11 , United States Code, and have explained the relief
available under each chapter for which the person is eligib|e. | also certify that l have delivered to the debtor(s)
the notice required by 11 U_S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
lf you are not represented knowledge after an inquiry that the information in the schedules died with the petition is incorrect

by an attorney, you do not
need to file this page.

For your attorney, if you are
represented by one

Xisi Konnoih H. Keofo, Esq. gate 02/22/2019
Signature ofAttomeyforDebtor MM i‘ DD l‘Y¥YY

 

Kenneth H. Keefe

Printed name

The Keefe Law Group, P.A.

Firm name

111 2nd Ave_ NE, Ste. 213

Number Streei

 

 

 

 

 

 

St. Petersburg FL 33701

C"W siaio zlP code

contact phone 727-213~9036 Ema" address ken@l<eefe|awgroup.corn
487340 FL

Bar number State

Ochial Form 101 Voiuntary Petition for individuals Fi|ing for Bankruptcy Dage 7

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Fil| in this information to identify your case:

nebtc,rq John Claude Bodziak

Fil’sl Name M`lddle Name Lasl. Name

Debtor 2
(Spouse, it tillng) Fiioi Name lllllddo mine Lasi Name

 

United States Bankruptcy Court for the; Middle District Of F[Orida

Case number n CheCk if fhiS 15 an
""‘"°“’"’ amended li|ing

 

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical Information 12l15
Be as complete and accurate as possible. tf two married people are ti|ing together, both are equally responsible for supplying correct

information. Fill out ali of your schedules first; then complete the information on this form. lf you are tiling amended scheduies after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own

1. Scheduie A/B: Property (Ofticial Form 106A/B)

 

.37
1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... 5 ~_M
1b- Copy line 62. Total personal property, from Schedule A/B ______________________________________________________________________________________________ $ 2150.00
1c. Copy line 63, Total of all property on Scheduie A/B ......................................................................................................... $ 69046_37

 

 

 

m Summarize Your Liabilities

Your liabilities
Amount you owe
21 Schedui'e D: Credl'tors Who Have Clal`ms Secl.rred by Property (Offioial Form 106D)

,342.92
2a Copy the total you listed in Column A, Amountofclar'm, at the bottom of the last page of Part 1 of Schedul'e D ............ $L

3_ Schedule E/F.' Creditors Who Have Unsecured Clat`ms (Officia| Form 106EIF)

. . 3 1,179,044.7
3a Copy the total claims from Part1 (pnority unsecured oiaims) from line tie of Scheduie E/F __

 

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line Sj of Schedute E/F + $ 7779_67
Your total liabilities $ 1537‘167'29

 

 

 

Summarize Your lncome and Expenses

4. Schedule l'.' Your income (Otticial Form 106|)

_ _ _ $ 1192.00
Copy your combined monthly income from line 12 of Scnedui'ei' ............................................................................. ,. ........... ___-
5. Schedu!e J: Your E)rpenses (Ofticial Form 1063) 550 00
Copy your monthly expenses from line 22c of Schedul‘e J $ ____'_

Ofiicial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

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garmon John Claude Bodziak

First Name Mldclle Name Last Name

CESE number (rfkn'cwn)

 

m Answer These Questions for Administrative and Statistical Records

 

b‘. Are you t`lling for bankruptcy under Chapters 7, 11, or 13?
1;| No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

m Yes

7. What kind of debt do you have?

13 ¥our debts are primarily consumer debts Consun'ler debts are those "incurred by an individual primarily ior a persona|,
family, or household purpose.” 11 U.S.C. § 101(8)_ Fiil out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

w Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

B. From 'd'le Statement of Your Currenr Monthly income: Copy your total current monthly income from Officiai
Form 122A-1 Line 11; OR, Form 1223 Line 11; OR. Form 1226-1 Line 14. 5 1192.00

 

 

 

s1 Copy the following special categories of claims from Part 4, line 6 of Schedule Esz

 

Total claim
From Part 4 on Schedule EfF, copy the foilowing:

9a Domestic support obligations (Copy line 63.) $ 0
9b. Taxes and certain other debts you owe the govemment. (Copy line Bbi) $M_MS_
9c. Ciaims for death or personal injury while you were intoxicated (Copy line 6c.) $___..._..__._O
9d. Student loans. (Copy line Gf.) $______0
9e. Obligations arising out of a separation agreement or divorce that you did not report as s 0

priority claims. (Copy line Eg_) "__"
Qf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line Sh.) + $ 0
Qg. Total. Add lines 9a through 9f. s 383'773~56

 

 

 

Officia| Form 1068um Summary of Your Asseis and Liabi|ities and Certain Statistica| information page 2 of 2

CaSe 8219-bi<-01506-RCT DOC 1 Filed 02/25/19

Fi|l in this information to identify your case and this filing:

Debtor1 John Claude Bodziak

 

Flrsl Name Mlddle Name

Debtor 2

Last Name

 

(Spouse. ilfiling) rli-_n borne illinois trains

Last Name

United States Bankruptcy Coui't for the: Nliddle Dislrict Of F|Orida

Case number

 

 

 

Officia| Form 106A/B

 

Schedule AIB: Property

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset iri the
category where you think it fits best. Be as complete and accurate as possib|e. if two married people are filing together, both are equally
responsible for supplying correct inforrnation. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

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n Check if this is an
amended filing

12115

mscribe Each Residence, Bui|ding, Land, or Other Real Estate ¥ou Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence. building, iand, or similar property?

Cl No. co to Part 2.
z Yes. Where is the property?

1_1_ 215 Nina Street NE

 

Street address. if availablel or other description

 

 

 

St. Petersburg FL 33
city stare zlP cooo
County

if you own or have more than one, list here:

1.2.

 

Street address if available or other description

 

 

C`ity State Z|P Code

 

County

Of'licia| Form 106A/B

What is the property? Check all that apply.
3 Sing|e-fami|y home

Ei ouplox or multi-unit building

Cl Condominium or cooperative

n Manufactured or mobile home

n Lanci

n investment property

m Timeshare

m Other

 

Who has an interest in the property? Check one.
g Debtor1 only

l;l Debtor 2 only

U Debtor1 and Debtor 2 only

n At least one ofthe debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured ciaims on Schedule D:
Creditors Who Have Ciai'ms Securao' by Property

Current value of the Current value of the
entire property? portion you own?

$ 400,000.00 $ 66,986.37

 

Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

Fee Simple

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number: 08-31-17~83376-000-3180

What is the property? Check all that app|y.
n Sing|e-family home

13 Dup|ex or multi-unit building

1;| Condominium or cooperative

m Manufactured or mobile home

n Land

m lnvestmeni property

n Timeshare

m Other

Who has an interest in the property? Check one.
1:| Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

 

Do not deduct secured claims or exemptions Pui
the amount of any secured claims on Schedule D:
Credltors Who Have Ciai'ms Secured by Proporly.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

cl Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Schedule NB: Property

page 1

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named John Claude Bodziak

 

FlrsiNarne Midd|e Name

1.3.

Lasl Name

 

Street address, if availabie. or other description

 

 

City State ZiP Code

 

County

.l

msc ribe Your Vehicies

What is the property? Check ali that apply.
cl Sirig|e-tamiiy home

n Dupiex or multi-unit building

l;l Condominium or cooperative

El Manufactured or mobile home

n Land

a investment property

n Timeshare

Cl other

 

Who has an interest in the property? Check one.
i;l Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

Cl Ai least one of the debtors and anoihor

CBSe number (lrlinowni

Do not deduct secured claims or exemptions Put
the amount or any secured claims on Schedule D:
Creditors Who Have Cial'ms Secured by Properi‘y.

Current value of the Current value ofthe
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

a Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... -)

 

$ 66,986_37

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives if you lease a vehic|e, also report it on Schedule G: Executory Coniracts and Unexpl'red i_eases.

3. Cars, vans, trucks, tractors, sport utility vehiclesl motorcycles

g No
m Yes

3_1_ Make:
Moclel:
Year:
Approximate mileage:

Other information:

if you own or have more than one, describe here:

3_2, lViake:
iVlodei:
`i'ear:
Approximate mileage:

Other information:

Oi'Hcia| Form 106NB

Who has an interest in the propeity? Check one.
n Debtor 1 only

Cl Debtor 2 only

El Debtor 1 and Debtor 2 only

m At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

El Debtor 2 only

El Debtor1 and Debtor 2 only

m At least one of the debtors and another

g Check if this is community property (see
instructions)

Schedule AIB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Ciaims Seci.ired by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

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John Claude Bodziak

 

Who has an interest in the property? Check one.

Debtor1
First Name M)ddle Name test Name
33A Make:
i\liodol; E| oooiori only
n Debtor 2 oni
Vear: y

Approximate mileage:

Other information:

3.4, Make:
Model:
Year:
Approximate mileage:

Other information:

El oooiori and Debtor 2 only
i;l At least one ofthe debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one

n Debtor 1 onty

m Debtor 2 only

a Debtor 1 and Debtor 2 only

U At least one ofthe debtors and another

El Check if this is community property (see
instructions)

Case number illinowni

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Crel:iitors Who Have Clai'ms Securad by Properiy,

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Crediiors Who Have Ciar'ms Secureo' by Property.

Current value of the
portion you own?

Current value of the
entire property?

4. Watercraft. aircraft, motor homes, ATVs and other recreational vehiclesl other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft. fishing vesseis, snowmobiies, motorcycle accessories

a No
l:l Yes

4_1_ Make:
Nlodei;
Year:

Other information:

lf you own or have more than one. list here:
4,2_ |V|ake:

Modei:

Year;

Other information:

Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

m At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

ij Debtor 2 only

Cl Debtor 1 and Debtor 2 only

n At least one oflhe debtors and another

m Check if this is community property (see
instructions)

Do riot deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creo'l‘tors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credr'i’ors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

0.00

you have attached for Part 2. Write that number here ........................................................................................................................ ')

Ofiicial Form 106AllB

Schedule AlB: Property

page 3

 

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Debtor1 John Claude Bodziak

Firsl Name Mldd|e Name LaslName

Describe Your Personai and Househoid items

Do you own or have any legal or equitable interest in any of the following items?

Case number ilrlmowni

 

Current value of the
portion you own?
Do not deduct secured claims

 

or exem ptions.
6. Househoid goods and furnishings
Exampi'es: Major appliancesl furniture, linensl china, kitchenware
cl No _
2 Yos. oosorloo ......... Sto"e and R@fl'gelat°' $ 300.00
i'. Eiectronics
Exampies: Teievisions and radios; audio, video. stereo, and digital equipment computers, printers, scanners; music
collections; electronic devices including cell phones, cameras. media players, games
n No
2 Yo.=,. Describe .......... HP computer and monitor $ 500.00
8. Co||ectib|es of value
Examples: Antiques and iigurines; paintings, prints, or other artwork; books, picturesl or other art objects;
stampl coin, or baseball card collections; other coilections. memorabilial collectibies
m No _ _
2 Yoo. Describe .......... Sports Memorabllia s 1,000.00
9. Equipment for sports and hobbies
Examples: Sports, photographic exercise, and other hobby equipment bicyclesl pool tables, golf ciubs, skis; canoes
and kayaks; carpentry too|s; musical instruments
No
n Yes. Describe........_. $ 0.00
10. Firearms
Exampies: Pistois, rifles, shotguns, ammunition and related equipment
No
m Yes. Describe.......... $ 7 0-00
11.Clothes
Exampies: Everyday ciotl'ies, furs, leather coats. designer wear, shoes. accessories
n No _
Yos. Describe .......... SU'tS and Other Wardmbe $ 300.00
12.Jewelry
Exampies: Everydayjeweiry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems.
goid, silver
No
i;l Yes. Describe ........... $___A
13, Non-farm animals
Exampies: Dogs, cats, birds, horses
E No
Cl Yes. Describe ........... $ 000
14. Any other personal and household items you did not already list, including any health aids you did not list
No
El vos. Give specific $ 0,00
information
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 2l10(].00
for Part 3. Write that number here .................................................................................................................................................... 9

 

 

 

Official Form 106Al'B Schedule Ai'B: Property page 4

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Debtor1 JOhn Claude Bodziak

Case number trrmown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Flrst Name Middle Name test Name
Describe Your Financial Assets
Do you own or have any iegal or equitable interest in any of the following? cu“'_em Value of the
portion you own?
Do not deduct secured claims
or exemptions
16.Cash
Examples: Nloney you have in your wallet in your horne. in a safe deposit box. and on hand when you file your petition
El No
g YeS ................................................................................................................................................................ Cash: _______________________ $ 50.00
17. Deposits of money
Exampfes: Checking. savings, or other financial accounts; certificates of deposit shares in credit unionsl brokerage housesl
and other similar institutionsl lfyou have multiple accounts with the same institution, list each.
a No
n Yes institution name:
17111 Checking account $
1?.2. Checking account $
1?.3. Savings account $
17.4. Savings account $
17.5. Certincates of deposit $
17.6. Other financial account $
17.?. Other financial account 5
17.8. Other financial account 5
17.9. Other financial account $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds. investment accounts with brokerage tirms. money market accounts
a No
l:l Yes ................. institution or issuer name:
$
19. Non-pub|ic|y traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
2 NO Name of entity: % of ownership:
l:l Yes. Give specific O% %
information about o
them ......................... 0 /° %
0
0 /U cfc 5

 

Of‘flcial Form 106AIB Schedule NB: Property Page 5

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named John Claude Bodziak

Case number (rrrnownr
Firsi Name Mldd|e Name Last Name

 

20_ Government and corporate bonds and other negotiable and non-negotiable instruments

Negotr'abie instruments include personal checks. cashiers' checks. promissory notes, and money orders.
Non-negorr'abie instruments are those you cannot transfer to someone by signing or delivering them.

ZNo

n Yes. Give speciHc 'SSUEF name?

information about
them ....................... 5

 

 

 

21. Retirement or pension accounts
Exampies: interests in |RA, ER|SA, Keogh, 401(k), 403(b). thrift savings accounts, or other pension or profit-sharing plans
2 No
Cl Yes. List each

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

account separately Type of account institution name:
401(k) or similar plan: $
F'ension plan: $
lRA; $
Retirement account $
Keogh: $
Additional account $
Additional account $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Exampies: Agreements with landiorcis, prepaid rent, public utilities (electric, gas. water), telecommunications

companies or others

El No

n Yes .......................... institution name or individua|:
Eiectn`c: $
Gas: $
Heating oi|: $
Security deposit on rental unit $
Prepaid rent $
Te|ephone: $
Waier: $
Rented fumiture: 5
Other: 5

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
a No
n Yes .......................... issuer name and description:
$
$

 

omcial Form rooms schedule ArB: Property page 6

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Debtor1 John Claude Bodziak

Case number nrimowni
First Name Middle Name Last Name

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(‘|).
g No
l;] Yes ....................................

institution name and description. Separateiy tile the records of any interests.t'i U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

ENo

\;l Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks. trade secrets, and other intellectual property
Exampies: |nternet domain namesl websites, proceeds from royalties and licensing agreements

l;]No

El Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Exarripies: Buiiding pennits, exclusive licenses cooperative association holdings, liquor licenses, professional licenses

ENo

n Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

25.Tax refunds owed to you
a No

cl Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. .......................

Federal:

Locat

29. Family support
Exam,oies.' Past due or lump sum alimonyl spousal support child support maintenance divorce settlementl property settlement

ZNo

a Yes. Give specinc information ..............

A|imony: $
Maintenance: $
Supporl: $
Divorce settlement $
Property settlement $
30. Other amounts someone owes you
Exampies: Unpaid wages disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
Social Security benefits; unpaid loans you made to someone eise
g No
n Yes. Give specific information ............... s

thcial Form 106AIB Schedule NB: Property Page 7

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Debtor1 John Claude Bodziak

Case number irrimuwn)
Firsi Name Middie Name Las| Name

 

31. interests in insurance policies
Exarnpies: Hea|th, disability, or life insurance; health savings account (HSA); credit homeowners or reriter's insurance

ENo

m Yes. Name the insurance company

. _ _ Company name; Benefici`ary: Surrender or refund value:
of each policy and list its value.

$

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust. expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

ENo

El ¥es. Give specific information ..............

33. Ciaims against third parties whether or not you have filed a lawsuit or made a demand for payment
Exampi'es: Accidents. employment disputes insurance claims or rights to sue

ENo

n Yes Describe each claim.

34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

ENo

n \’es. Describe each claim. ....................

35. Any financiat assets you did not already list

BNo

n Yes Give specinc information ............

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached 50 00
for Part 4. Write that number here .................................................................................................................................................... ") $_‘

 

 

 

mescrihe Any Business-Related Property ¥ou Own or Have an interest in. List any real estate in Part1.

 

3?. Do you own or have any legal or equitable interest in any business-related property?
a No. Go to Part 6.
Ei Yes coin line 33.

Current value of the
portion you own?

Do not deduct secured claims

or exemptions
3B.Accounts receivable or commissions you already earned
n No
El ‘i'es. Describe .......
$

39. Office equipmentl furnishings and supplies
Exampies: Business~reiated computers software. modems, printers copiersl tax machines rugsl telephones desks chairs, electronic devices

DNo

n Yes. Describe .......

orriciai Form rooms schedule Ars: Property page 8

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Debtor1 John Claude Bodziak

Case number iirimewiii
Firsl Name Midd|e Name Last Name

 

 

40. Machinery, fixtures equipmentl supplies you use in business and tools of your trade

EiNo

l;l Ves. Describe .......

 

 

 

 

 

 

 

 

 

 

$
41_ inventory
m No
n Yes. Describe ....... $
42. interests in partnerships or joint ventures
l:l No
m Yes' Describe """" Name of entity: % of ownership;
% $
% $
% $
43. Customer iists, mailing |ists, or other compilations
l;l No
l;l Yes Do your lists include personally identifiable information (as denned in 11 U.S.C. § 101(41A))?
n No
l;l Yes. Describe ........ $
44. Any business-related property you did not already list
El No
Cl \’es. Give specific $
information .........
$
$
$
$
$
451 Add the dollar value of ali of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here .................................................................................................................................................... -)

 

 

 

Describe Any Farm- and Commercia| Fishing-Re|ated Property ¥ou Own or Have an interest in.
if you own or have an interest in farrnland, list it in Part1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
El Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims

or exemptions
47. Farm animals
Exarripi'es: Livestock. poultry, farm-raised fish
l:l No
El Yes ..........................
$

Ofiiciai Form 106AIB Schedule A!B: Property page 9

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lawton John Claude Bodziak

Firs| Name Mrddie Name Last Name

Case number iirimuwrii

 

48. Crops-either growing or harvested

UNo

n Yes. Give specific
information $

49_ Farm and fishing equipment1 implements machinery, fixtures and tools of trade

 

 

 

 

 

 

 

 

 

 

 

El No
n Yes ..........................
$
50. Farm and fishing supplies chemicals and feed
m No
n ‘i’es ..........................
$
51.Any farm- and commercial fishing-related property you did riot already list
n No
n Yes. Give specific
infonnation. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached 5 0.0U
for Part 6. Write that number here .................................................................................................................................................... 9
Desc rihe A|| Property You Own or H ave an interest in That Vou Did N ot List Above
53. Do you have other property of any kind you did not already iist?
Exampies: Season ticketsl country club membership
a No
Cl Yes Give specific
information ............
. . 0.00
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9
List the Tota|s of Each Pa rt of this Form
55.Part 1: Total real estate, line 2 .............................................................................................................................................................. 9 $___W
56. Part 2: Total vehicles, line 5 $ 000
5?. Part 3: Total personal and household items line 15 $ 2’100`00
58. Part 4: Total financial assets line 36 $ 5000
59. Part 5: Total business-related property, line 45 $ 0`00
60. Part 6: Total farm- and fishing-related propertyl line 52 $ U'OO
61. Part 7: Total other property not iisted, line 54 + $ 0'00
62.Tota| personal property. Add lines 56 through 61. .................... $ 2‘150‘00 Copy personal property total 9 + $ 2.150-00
63.Tota| ofall property on Schedule AIB. Add line 55+line 62 $ 69‘136`37
crucial Form 106/ve schedule ArB: Property page 10

 

 

 

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Fi|| in this information to identify your case:

Debtor1 John Claude Bodziak

Firs| Name Mir.ld|e Name Las| Name

Debtor 2
(Spouse` iffiling) Firsii\iame Middie Name

 

LaslName
United States Bankruptcy Coun rorthe;l\ilidd|e District of Florida

Case number n Check if this iS 3|"|
(lf known)

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt wis

Be as complete and accurate as possible. lf two married people are filing together. both are equally responsible for supplying correct information
Using the property you listed on Schedule AIB: Property (Official Form 106A!B) as your source. list the property that you claim as exempt |f more

space is needed, fill out and attach to this page as many copies of Part 2: Addi'ti'onal Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. A|ternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds~may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that

limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount. your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

g You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
[:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule AIB that you claim as exempt, Hll in the information below.

 

 

 

Brlef description of the property and line on Current value of the Amount of the exemption you claim Spacific laws that allow exemption
Schedule AIE that lists this property portion you own
Copy the value from Check only orie box for each exemption
Schedule AIE
Brief 215 N. St 6 7 F|orida Homestead Exemption
description: ina reet $66,98 .3 [| $
Line from m 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief
description: _-_ $___ m $
Line from |;l 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description: ___ $___ m $
Line from m 100% of fair market value, up to
Schedule AJB: _ any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4101/‘¥9 and every 3 years after that for cases filed on or after the date of adjustment.)

UNo

g Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
n No

a Yes

Ochial Form 1060 Schedule C: The Property ‘i'ou Claim as Exempt page 1 Of1_

Case 8:19-bl<-01506-RCT DOC 1

Fill in this information to identify your case:

John Claude Bodziak

Mirid]e Name

Debtor 1

 

First Name Last Name

Debtor 2
(Spouse. `lf filing) rim Name

 

Middte Name Last Name

United States Bankruptcy Couit for the: Middle Dl`StriCt Of F|Orida

Case number
llf knownl

 

 

Off”icial Form 1060

 

Schedule D: Creditors Who Have Claims Secured by Property

Filed 02/25/19 Page 21 of 38

El check iiihls is an
amended filing

12[15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information |f more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this forrn. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

El No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

§ Yes. Fill in all of the information below.

m List Aii secured claims

 

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately Am°unt of dam

for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible list the claims in alphabetical order according to the creditors name.

Bank of Amer`lca, N.A.

Creditofs Name l

1200 South Pine island Rd.

l
Street l

Describe the property that secures the claim:

215 Nina Street NE
St. Petersburg, FL 33704

 

 

 

 

 

Column A Column B Column C
Value of collateral Unsecured

00 not deduct the that supports this portion

value of oollateral. Claim lf any

$ 217782.10 5 400,000.00 5

 

Number __ ____.
As of the date you filel the ctaim is: Check all that apply.
_ n Contingent
Plal'ltat|f)n FL 33324 n Un|iquidatp,d
C¢ty State ZlP Code q Djsputed

Who owes the debt? Check one_
l:l Debtor 1 only

Nature of lien. Check atl that apply.

L`.l Debtor 2 only
n Debtor1 and Debtor 2 only
q At least one of the debtors and another

13 Check if this claim relates to a
community debt

7 Date debt was incurred 02/14/2003
E} Select Porl:folio Servicing

 

Creditors Name

P.O. Box 65250

 

 

 

Number Street
saitl_al<e city uT 84165
Cily Slate Z|P Code

Who owes the debt? Check one.

m Debtor 1 only

a Debtor 2 only

El oebtor 1 and oebtorz only

n At least one of the debtors and another

El Check if this claim relates to a
community debt

Date debt was incurred 02"01"2019

Add the dollar value of your entries in Column A on this page. Write that number here:

Oflicial Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

q An agreement you made (such as mortgage or secured
car loan)

m Statutory lien (such as tax lien, mechanic’s lien)
n Judgmerit lien from a lawsuit
El other (lricludlng a right re onsa)

Last 4 digits of account number__

115231.63 3 400,000.00 $

 

Describe the property that secures the claim: $
i21§Nina Street NE _ m 7 7 l

iSt. Petersburg, FL 33704 l

 

As of the date you fi|e. the claim is: Check all that apply.
a Coritingent

g Unliquidated

n Disputed

Nature of lien. Check all that apply.

g An agreement you made (such as mortgage or secured
car |oan)

g Statutory lien (such as tax lienl mechanic's lien)

Cl Judgmeni lien from a lawsull

Cl other rlncludlng a righrto olsen

Last 4 digits of account number _2 _9 _5 _3

k 333 013.73|

 

page 1 of 3_

Case 8:19-bl<-01506-RCT Doc 1 Filed 02/25/19 Page 22 of 38

Debtor1 John Claude Bodziak

Case number riiirnuwni
t‘-'n'i;t Name Middte Name Last Name

 

 

Additiona| Page Column A Column B Column C
Amount of claim Vatue of collateral Unsecured

After listing any entries on this page, number them beginning with 2.3, followed Do not dedud me that supports this portion

by 2.4, and so forth.

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

value of collateral C!aim lf any
Departmem Of Tl'easury Describe the property that secures the claim: $ 11 '429'19 s 400'000'00 $
Credilors Name _____ , __ ___ _ . , _ ___ ___
l215 Nina Street l
Number sims lSt. Petersburg, Fl_ 33704 |
As of the date you file, the claim is: Check all trial apply.
Washington DC 20001 ill contingent
city slate zlP code Cl unliquidated
n Disputed
Who owes the debt? Check one. Nature of lien. check all ihai apply.
n Debtor 1 Oniy a An agreement you made {such as mortgage or secured
n Debtorzori|y car loan)
n Debtor 1 and Debtor 2 only Statutmy lien {such as tax lien, mechanics lien)
n At least one of the debtors and another m Judgmem lien from a lawsuit
El oiher(inclueing a righlio ansell
n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ___ __ _ _
-City Of St- Petersburg Describe the property that secures the claim: $ 2'400'00 $ 400‘000'00 $
Cfedilor’s Name `_ _ _ .
545 m A"e' NE 1215 Nina street St. Peiersburg, Fl_ 33704 §
Number Street l _______ _ iiiiiiii __ _____________ _ i_________l
As of the date you filel the claim is: Check all that apply.
cl Contingent
St. Petersburg FL 33701 q Un|iqoioa,eo
city slate zlP code g Disputed
who owes the dem? Check one Nature of lien. Check all that apply.
n Debtor 1 only n An agreement you made (such as mortgage or secured
n Debtor2 only Car|oan]
m Debtor 1 and DF-'bef 2 On|y g Statutory lien (such as tax lienl mechanics lien)
n At least one of the debtors and another CI Judgmem lien from a lawsuit
n Check if this claim relates to a g Other (inc|uding a right to oman
community debt
Date debt was incurred 11121!2018 Last 4 digits of account number_ ____ _ _
City cf St- Petersburg Describe the property that secures the claim: $ 3'500'00 $ 400'000'00 $
Credltors Name _, , ___ _ __
545 151 Ave_ NE l215 Nina Street, St. Petersburg, FL 33704 ‘

 

Number Street l

 

As of the date you file, the claim is: Check all-thai appiy.
St. Pet€beL|l’g FL 33701 n Contingent

 

 

city sale zlP code ill unliquidated
l:l Disputed
Who owes the debt? Check one Nature or lien check all thai apply.
n DEbi°l' 1 On|\l' \:l An agreement you made (such as mortgage or secured
n Debtor 2 only car toan)
g Debtor 1 and Debtor 2 only m Statutory lien (such as tax lien mechanics lien)
[:l At least orie of the debtors and another m Jud§mem lien from a 'awsu“

El other (including a right to onset)
L:l Check if this claim relates to a

community debt

Date debt was incurred 01103/19 Last 4 digits of account number _

 

Add the doitar value of your entries in Column A on this page. Write that number here: is

lf this is the last page of your forml add the dollar value totals from all pages. 350 342_92 l
Write that number here: $._._‘_

 

Official Form 1060 Additional Page of Schedule D: Creditors Who Have Claims Socured by Property pagez_ of 3_

Case 8:19-bk-01506-RCT DOC 1 Filed 02/25/19 Page 23 of 38

Debtor1 John Claude Bodziak Case number [,rknnwn)

Flrst Name Middie Name Last Name

 

 

m List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part1. For examp|e, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similar|y, if
you have more than one creditor for any of the debts that you listed in Part1, list the additional creditors here. |f you do not have additional persons to
be notified for any debts in Part1, do not fill out or submit this page.

g On which line in Part1 did you enter the creditor?

 

Name Last 4 digits of account number_

 

Number Street

 

 

City State Z|P Code

l:| On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number_

 

Number Street

 

 

 

 

 

 

 

 

 

 

 

City State Z|P Code

E On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ __ __ ___
Number Street
Cily State Z|P Code

|:l On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ______ _ _
Number Street
City State ZIP Code

|:| On which line in Part 1 did you enter the creditoi?
Name Last4 digits of account number_ _ _ _

 

Number Street

 

 

City State Z|P Code

!:I On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number

 

Number Street

 

 

City State Z|P Code

Otiicia| Form 1060 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page§__ 0f3__

Case 8:19-bl<-01506-RCT Doc 1

Fill in this information to identify your case:

Debtor1 John Claude Bodziak

 

Flrsl Name Midd|e Name

Debtor 2

Last Name

 

(Spouse, lf fllll'lg} FirslName Middle Name

Lai\ Name

United States Bankruptcy Court fortth Middle Di$tricl of F|Orid&

Case number

 

(|f knuwn)

 

 

Official Form 106E/F

 

Schedule EIF: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part1 for creditors with PR|OR|T‘( claims and Part 2 for creditors with NONPR|OR|T¥ claims.
List the other party to any executory contracts or unexpired leases that could result in a claim, Also list executory contracts on Schedule
A/B: Property (Oflicial Form 106NB) and on Schedule G: Executory Coritracrs and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List A|l of Your PR|OR!T'{ Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

El No. co to Part 2.

M Yes.

Filed 02/25/19 _Page 24 of 38

El Check if this is an
amended filing

12l15

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as posslb|e, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, lil| out the Continualion Page of Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form irl the instruction booklet.)

 

2.1

 

 

Ardlth C. Rutland

 

Pn`onty Creditors Name

501 Coffee Pot Riviera NE

 

 

 

Number Street
St. Petersburg FL 33704
City State Z|P Code

Who incurred the debt? Check one.

l:l Debtor1 only

\;l Debtor 2 only

l;l Debtor1 and Dootor 2 only

m At least one of the debtors and another

\:l Check if this claim is for a community debt

ls the claim subject to offset?
Cl No
Yes

E-Z l Banana River Finance, lnc.
Piiorlty Creditors Name

1515 South Atlantic Ave. # 204

 

 

 

Number Street
Cocoa Beach FL 33831
city state zlP code

Who incurred the debt? Check one.

n Debtor1 only

El Debtor2 only

El Debtor 1 and Debtor2 only

m At least one of the debtors and another

\;l Check if this claim is for a community debt

ls the claim subject to offset?
El No
m Yes

Ofl'lcia| Form 106EIF

Total claim

Last 4 digits of account number u_ _ _ _

05/22/2014

When was the debt incurred?

As of the date you filel the claim is: Check all that apply

n Conlingenl
El unliquidated
Ed oiaputad

Type of PR|OR|TY unsecured claim:

Cl Domestic support obligations
n Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

E other_gpecify Lease Dispute

Last 4 digits of account number _ _ _ _
When was the debt incurred? 2008

As of the date you file, the claim is: Check all that apply.
n Contingent
El unliquidated

Disputed

Type of PR|OR|TY unsecured claim:
El Domestic support obligations
a Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

g Other. Speciiy Contract Disput€

 

Schedule EIF: Creditors Who Have Unsecured Claims

Priority
amount

$l 37819$_

$ 175,000.00 $

Nonpriority
amount

page 1 of_

Case 8:19-bl<-01506-RCT Doc 1 Filed 02/25/19 Page 25 of 38

peb,om John Claude Bodziak

Case number annum

 

First Name Middle Name

Last Name

 

mYour PR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 2.3, foliowed by 2.4. and so forth.

Edward Don & Company

 

Prionty Creditors Name

1200 South Pine island Rd.

 

 

 

Number Street
P|antation FL 33324
City State Z|P Code

Who incurred the debt? Check one.

\;l Debtor 1 on|\.l

m Debtor 2 only

[:.l Debtor1 and Debtor 2 only

g At least one of the debtors and another

\;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
g ¥es

State Theatre Concerts1 LLC

 

Priority Creditors Name

 

 

 

1540 Walnut Street

Number Street

C|earwater FL 33755
City Stats Z|P Code

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

Cl Debtor 1 and Debtor 2 only

g Af team Ol'\e Of the debtof$ and another

!;l Check if this claim is for a community debt

ls the claim subject to offset?

Cl No
w Yes

Department of Revenue

 

Prlorlty Creditors Name
Restitution Payment

 

 

 

Number Street
Tallahassee FL 32314
City' State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

a Debtor1 and Debtor 2 only

w At least one of the debtors and another

ill check if this claim is fora community debt

ls the claim subject to offset?

q No
m Yes

Offlciai Form 10BE/F

Schedule EIF: Creditors Who Have Unsecured Claims

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
Last4digits of account number ____ _,H _ _ $24'337'72 5 5
When was the debt incurred? 05/28/2009
As of the date you file, the claim is: Check all that apply.
cl Corltingent
EJ unliquidated
M oiaputed
Type of PRlORlW unsecured claim:
':l Domestic support obligations
0 Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were
intoxicated _
M other_ Spec-.fy Contract Dispute
Last4 digits of account number _ _ ____ __m 3166555'23 $ 5
When was the debt incurred? M
As of the date you filel the claim is: Check all that apply.
[:l Contingent
El uniiquidated
Cl oisputed
Type of PR|OR|TY unsecured claim:
|;l Domestic support obligations
El Taxes and certain other debts you owe the government
m Claims for death or personal injury while you were
intoxicated _
q Ome,_ Spec;fy Contract Dispute
Last 4 digits of account number _ _ _ $383773-56 3 $

When was the debt incurred?

07/07/2010

AS Of the date yt`)l.l file, the Claim iS: Check all that apply.

n Contingent
n Un|iquidated
m Disputed

Type of PR|OR|TY unsecured claim:

ij Domestic support obligations
n Taxes and certain other debts you owe the government

cl Claims for death or personal injury white you were
intoxicated

g Other_Specify Re$tifutiOl't

page l of ___

Case 8:19-bl<-01506-RCT DOC 1 Filed 02/25/19 Page 26 of 38

Debtor1 John Claude Bodziak

 

First Name Middle Name Last Name

m List All of Your NONFRIORIT¥ Unsecured Claims

Case number tirtnawni

 

 

3. Do any creditors have nonpriority unsecured claims against you?

n No. You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lt a creditor has more than one
nonprion`ty unsecured claim, list the creditor separately for each claim, For each claim listed. identify what type of claim it is. Do nol list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims hit out the Continualion Page of Part 2.

A.R Resources lnc. Bayside Emergency Physicians

 

Nonprionty Creditors Name

1777 Sentry Parkway N

 

Number Street

B|ue Be|| PA 19422

 

city State zlP code
Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

El Debtor1 and Debtor2 only

n At least one of the debtors and another

Cl Check if this claim is fora community debt

is the claim subject to offset?
m No
m \’es

E Bay Area Creditl Venado Emergency

 

Nonpriority Creditors Name

4145 Shack|eford Rd

 

Number Street

Norcorss GA 30093

 

City Stalo Z|P Code

Who incurred the debt? Check one.

m Debtor1 only

D Debtor 2 only

[J Debtor1 and Debtor 2 only

n At least one of the debtors and another

D Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

Capital Co||ection Services

Nonpriority Creditol‘s Name

20 East Taunton Rd. No.: 50

 

Number Street

Berlln NJ 08009

 

City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

E.l Debtor 2 only

n Debtor 1 and Debtor2 only

n At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?
n No
l:l Yes

Of'f`lcia| Form 106ElF

Schedule EIF: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account numberi i § i

$ 3613
03/01/2018 _

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Cl contingent
Unliquidated
El Disputad

Type of NONPR|OR|TY unsecured claim:

El student loans

n Obfigations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

§ gther_ Specyy Emergency Medica| Bi|l

 

Last4 digits ofaccount number 1 _3 4 _3_ $ 2143

When was the debt incurred?

1 l01l2 18

As of the date you filel the claim is: Check all that apply.

m Contingent
U unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out ofa separation agreement or divorce
that you did not report as priority claims

n Debts to pension or proEt-sharing plans, and other similar debts

|;l Other‘ Specify MediCal Blll

Last 4 digits of account number 7 _1_ _3 _6

05/01!2017

1 084

When was the debt incurred?

As of the date you filel the claim is: Check all that apply.

m Contingent
g unliquidated
n Disputed

Type of NONPR[CR|TY unsecured claim:

U Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or proHt-sharing plans, and other simitar debts

m Other. Specify MEdiCal Bltl

page _ of w___

Debtor 1

Case 8:19-bl<-01506-RCT DOC 1 Filed 02/25/19 Page 27 of 38

John Claude Bodziak

 

Fil‘st Name Middle Name Last Name

Case number llri<nowni

m Your NDNPR|CR|TY l.lnsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

4.4

 

 

 

.-‘*
c.n

Oriicia| Form 106ElF

Jeffrey R. Levenson, MD PA

 

Nonpnority Creditors Name

1170 Beicher Rd. Ste 113

 

Number Street

Largo FL 3773

 

City Sta'le ZiP Code

Who incurred the debt? Check one.

q Debtor 1 only

[;l Debtor2 only

n Debtor1 and Debtor2 only

m At least one of the debtors and another

|;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

Oniine Co|lections 1003‘|6 Peop|es Gas

Nonprionty Creditors Name

PO Box 1489

 

Number Street

Wlntervi|le NC 0

 

City Stat€ Z|P Code

Who incurred the debt? Check once

n Debtor 1 only

El Debtor 2 only

ij Debtor1 and Debtor 2 only

cl At least one of the debtors and another

U Check if this claim is for a community debt

ls the claim subject to offset?

n No
[I| res

Verizon

 

Nonprlority Creditors Name

1095 Ave of the Americas

 

Number Street

New Vork NY 10013

 

C`tty State Z|P Code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

D At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

Last4digits ofaccount number_4_'_ i_ 1 l

When was the debt incurred? 11/01/2018

As of the date you file, the claim is: Check all that apply.

a Contingent
§ unliquidated
ill Disputed

Type of NONPR|OR|T¥ unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

g Other. Specify Medica| Bin

Last 4 digits of account number l l 1_ 1

when was the debt inourred? 1242016

As of the date you filel the claim is: Chect< all that applyA

n Contingent
E]l unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

[;l Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-shaan plansl and other similar debts
cl Other. Specify

Last 4 digits of account number _

12l'2016

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
q Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans. and other similar debts

m Other. Specify phone bill

Schedule EIF: Creditors Who Have Unsecured Claims

Total claim

page __ of

656

194

89.67

Debtor 1

Case 8:19-bl<-01506-RCT DOC 1 Filed 02/25/19 Page 28 of 38

John Claude Bodziak

Case number tirtnownl

 

Firsl Name

M'ldd|e Name

Lasl Name

mist Others to Be Notifled About a Deht That ¥ou Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example. if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simiiarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

Name

 

Number

Street

 

 

State

Z|P CDdB

 

NEll'l'lE

 

NUl’l’ibel`

Street

 

 

City

State

Z|P Code

 

Name

 

Number

Street

 

 

city

State

Z|Fl Code

 

Name

 

Number

Street

 

 

City

State

Z|P Code

 

Name

 

Number

Street

 

 

city

State

ZlP Code

 

Name

 

Number

Street

 

 

city

State

Z|P Code

 

Name

 

Number

Street

 

 

City

State

thoial Form 106EIF

Z|P Code

Schedule EIF: Creditors Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check orie): U Part 1: Creditors with Priority Unsecured Claims
El Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number __

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): |;l Part 1: Creditors with Priority Unsecured Claims
L:l Part 21 Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Chock one): El Part 1: Creditors with Priority Unsecured Claims
\;l Part 2: Creditors with Nonprioriiy Unsecured
Claims

Last 4 digits of account number

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

El Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): |;l Part 1: Creditors with Priority Unsecured Claims
El Part 21 Creditors with Nonpiiority Unsecured
Claims

Last4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one).' Cl Part 1: Creditors with Priority Unsecured Claims
Cl Part 2: Creditors with Nonpliority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

l:l Part 2: Creditors with Nonprioiity Unsecured
Claims

Last 4 digits of account number _

page _ of _

Case 8:19-bi<-01506-RCT DOC 1 Filed 02/25/19 Page 29 0138

Debtor1 John Claude Bodziak

F`>rst Name Middle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

 

Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Ofticia| Form 106E/F

6a.

6c

Sd.

6e.

Bh.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Tota|. Add lines 63 through Ed.

. Student loans

. Ob|igations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines Gf through 6i.

6a

Gb.

6c

Sd.

Se.

6§.

69.

Sh.

6i_

si_

Total claim

s 383.773.56

+ $ 79527'1.14

 

 

$ 1,179,044_70

 

 

Total claim
$ 0
3 0
$ 0

.,. $ 7,779.67

 

 

$ 7,779.67

 

 

Schedule EIF: Creditors Who Have Unsecured Claims

page _ of _

Case 8:19-bl<-01506-RCT DOC 1 Filed 02/25/19 Page 30 0138

Fill in this information to identify your case:

Debtor John Claude Bodziak

First. Name Midd|e Name Last Name

 

Debtor 2
{SDOUSB lf filing) Flist Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middl€ Di$tl'iCi of FlOfida

Case number

iiiinowni El check if this is an
amended ti|ing

 

 

 

Oflicial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired ieases?
a No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form
El Yes. Fi|l in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Oft’icial Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle leasel cell phone}. See the instmctions for this form in the instn.iction booklet for more examples of executory contracts and
unexpired leases

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State Z| P Code

2.2

 

Name

 

Number Street

 

City State Z|P Code
2. 3

 

Name

 

Number Street

 

City State Z|P Code
2.4

 

Name

 

Number Street

 

City State Z|P Code
2.5

 

Name

 

Number Street

 

City State Z|P Code

Ofticial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of_

Case 8:19-bl<-01506-RCT DOC 1 Filed 02/25/19 Page 31 0138

Debtor1 John Claude Bodziak

Case number trfknowrl}

 

F`rst Name

Middle Name

LBS[ Name

- Additienal Fage if You Have illlore Contracts or Leases

Person or company with whom you have the contract or lease

 

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

City

State

Z|P Code

 

NEFT\E

 

Number

Street

 

City

State

Z|P Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

City

State

Z|P Code

 

Name

 

Number

Street

 

ciiy

State

Z|P Code

 

Name

 

Number

Street

 

City

Official Form 1066

State

Z|P Code

Schedule G: Executory Contracts and Unexpired Leases

 

What the contract or lease is for

page _ of __

Case 8:19-bl<-01506-RCT DOC 1 Filed 02/25/19 Page 32 0138

Fi|| in this information to identify your case:

Debtor1 John Claude Bodziak

Firs! Name Midd!e Name Last Name

Debtor 2
(Spoi.isel if liling) Fiist Name Middle Name

 

Lle Name

United States Bankruptcy Coun for the: Midd|e Dislrl'Ct Of Florida

Case number
(lfknown)

 

 

El check if this is an
amended filing

Oflicial Form 106H
Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additiona| Page, fill it out,

and number the entries in the boxes on the lefL Attach the Additiona| Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

m No
l;l Yes

Within the last 8 years, have you lived in a community property state or territory? (Communr'ty property states and territories include
An'zona, California, |daho. Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wrsconsin.)

§ No. Go to line 3.
C] Yes. Did your spouse, former spouse. or legal equivalent live with you at the time?

EINo

a Yes. in which community state or territory did you live? . Fil| in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State Z|P Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D {thcia| Form 1060), Schedule E/F (Ofticial Form 106El'F), or Schedule G (Officia| Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1 .' ‘(our codebtor Column 2: The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check all schedules that app|y:
3.‘1
l:l Schedule D, line _
Name
n Schedule EIF, line
Number Street Cl Schedule G, line
City State Z|P Code
3.2
l:l Schedule D, line _
Name
l:l Schedule ElF, line _
sumner street U Schedule G. line
city stare zlP code
3.3
El Schedule D, line
Name
L`.l Schedule ElF, line
Number street Cl Schedule G, line
City State Z|P Code

omciai Form iosH schedule H; your codebtors Page 1 Of_

Debtor1 John Claude Bodziak

Case 8:19-bl<-01506-RCT Doc 1 Filed 02/25/19 Page 33 of 38

 

First Name

MMdeName

Last Name

ldditlonal Page to List More Codebtors

Column 1: Your codebtor

Case number (iriirrewrr)

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Number

Street

 

city

State

Z!P Code

 

Name

 

Number

Street

 

Cily

State

Z|P Code

 

Name

 

Number

Street

 

City

Stlte

ZEP Code

 

Name

 

Number

Street

 

City

State

Z|P Code

 

Name

 

Number

Street

 

city

State

Z|P CodB

 

NBlTiB

 

Number

Street

 

Cl`ty

State

P'_lFl Code

 

Name

 

Number

Street

 

city

Olficial Form 106H

State

Z|P Code

Schedule H: Your Codehtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

[] Schedule D, line
E] Schedule EIF, line
Cl schedule G, line "

Schedule D, line __
Schedule Ei'Fl line
Schedule G. line ____

UEU

Schedule D, line
Schedule EIF, line
Schedule G, line

DUE|

Schedule D, line ____
Schedule EIF, line
Schedule G, line __

L'.|U|J

Schedule Dl line
Schedule EIF, line
Schedule G, line

|:|DU

Schedule D, line
Schedule EIF, line
Schedule G, line

EUU

Schedule D, line _
Schedule EIF, line W__
Schedule G, line

UUU

l;l Schedule D. line
lI| schedule E/F, line ___
Cl Schedule G, line _

page ___ Df _

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Fi|| in this information to identify your case:

Debtor1 John Claude Bodziak

Firsl Name Middle Name Last Name

 

i'.)ebtof 2
{S|.’JDL|S€. ifming} Flrst Name Midd.!e Name Last Name

 

United States Bankruptcy Court forthe: N|iddle Districl of Florida

Case number Check if this is:
(lfknown) .
CI An amended filing

El A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106| m
Schedule l: Your lncome wis

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. |f you are married and not filing jointly, and your spouse is living with you, include information about your spouse_
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

 

 

 

 

 

1. Fill in your employment . .
information. Debtor 1 Debtor 2 or non-filing spouse

 

lf you have more than one job,

attach a separate page with
information about additional Employment status ij Employed l:l Employed

employers m Not employed l;l Not employed

include pait~time, seasona|, or
self-employed work.

 

 

 

 

 

 

. Unemp|oyed
Occu t
Occupation may include student pa lon
or homemaker, if it applies
Employer’s name
Employer’s address
Number Street Number Street
City State Z|P code city state ZiP Code
Ho\iv long employed there? N/A N/A

m Give Details About Monthly lncome

 

Estimate monthly income as of the date you file this form. |f you have nothing to report for any iine, write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non~f`i|ing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this fomi_
For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll

 

 

deductions). if not paid month|y, calculate what the monthly wage would be. 2_ $ 250_00 5
3. Estimate and list monthly overtime pay. 3_ + $ 0.0 + $
4. Calculate gross income. Add line 2 + line 3. 4. $ 250-00 $

 

 

 

 

 

Ochia| Form 106| Schedule l: ¥our income Page 1

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Debtor1 John Claude Bodziak

F'est Name Middle Name Last Name

 

Copy line 4 here ............................................................................................... -) 4.

5. List all payroll deductions:

5a Tax, Medicare, and Sociai Security deductions
5b. Mandatory contributions for retirement plans
Sc. Vo|untary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. insurance

5f. Domestic support obligations

Sg. Union dues

5h. Other deductions. Specify:

 

e. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e +5f + 59 + 5h.

`r. Ca|cullte total monthly take-home pay. Subtract line 6 from line 4_

B. List all other income regularly recaived:

Ba. Net lncome from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

Bb. interest and dividends

5e.
5b.
5c.
5d.

u~i
in

5f.

59.
5h.

8a.
Bb.

8a. Fami|y support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal supportl child support maintenance divorce

settlementl and property settlementl

Bd. Unemp|oyment compensation
Be. Sociai Socurity

Bf. Other government assistance that you regularly receive

8c.

8d_
8a.

include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benet'its underthe Supp|emenlai

Nutrition Assistance Program) or housing subsidies
Specify:

 

89. Pension or retirement income

Bh. Other monthly income. Specify: Se" a few items On Ebay

9. Add all other income. Add lines 8a + 8b + 80 + Bd + 8a + 8f +Bg + Bh.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse.

1

_.

8f.

. State all other regular contributions to the expenses that you list in Schedule J.

Case number iirr<nawni

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

include contributions from an unmarried partner, members of your househoid, your dependents your roommates, and other

friends or reiatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J_

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Sumrnary of Your Assets and Liabr'lities and Certain Statr`sticai infon'rrati'on, if it applies 12.

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

For Debtor 1 For Debtor 2 or
M£msms_e_
$ 250.00 $
$ 0 $
s 0 $
$ 0 s
$ 0 s
is 0 $
$ 0 s
s 0 s
+$ 0 + $
s 9 s
5 250.00 $
s 0 s
s $
$ 500_00 $
$ $
$ 0.0 $
$ 192.00 $
s O-O s
+ $ 250.00 + $
$ 0.0 $
$ + s = $
11. + s 0
s l,i°i?- -°°
Combined

monthly income

 

 

 

ij No.
, l am searching for a job, but have severe health issues l may file for disability
ca Yes. Explain:
Official Form 106| Schedule |: Vour income page 2

 

 

 

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Fill in this information to identify your case:

Debtor1 John Claude Bodziak

 

Firerame Mi=idie Name LasiName Check if this iSf

Debtor 2

 

[SPOuSE, if fliing} Flrsl Name Migd|e Name LastName n An amended fiiing

uniied siares Bankruptcy court forma Niidd|e District of Flon`da

Case number

 

(|fknown) MM f DDi' Y‘(YY

 

 

Ofiicial Form 106J
Schedule J: Your Expenses

 

n A supplement showing postpetition chapter 13
expenses as of the following date:

12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

Mscdhe Your Household

1, ls this a joint case?

M No. co to iine 2.
Ci ¥es. Does Debtor 2 live in a separate household?

a No
El Yes. Debtor 2 must tile Ofl'icia| Form 106J-2, Experises for Separate Househoid of Debtor 2_

Does dependent live
with you?

 

 

 

 

 

 

2c Do you have dependents? § No
Dependent‘s relationship to Dependent‘s
Do nor list Debtor 1 and El Yes. Fiii our this information for Debtor1 or Debtor 2 age
Debtor 2. each dependent ..........................
Do not state the dependents
names
3. Do your expenses include w No

expenses of people other than
yourself and your dependents? n Yes

mEstln-iate Your Dngoing Monthly Expenses

i;] No
El Yes

Ci No
Cl Yes

ill No
i;i Yes

m No
i:.l Ves

i:l No
n Yes

Estimate your expenses as of your bankruptcy li|ing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is tiled. |f this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: your income (Official Form 106|.)

4r The rental or home ownership expenses for your residence. lnc|ude first mortgage payments and
any rent for the ground or |ot.

|f not included iri line 4:

4a Real estate taxes

4b Propeity, homeowner’s, or rentefs insurance

4c Home maintenance repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Oflicial Form 106.] Schedule J: Your Expenses

48.

4b_

4c.

4d1

Your expenses
$ 0.0
$ 0.0
$ 0.0
s 100.00
5 0.0

page 1

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Debtor1 John Claude Bodziak

13

14.

15.

16.

18.

19,

20.

 

Fiist Name Midd|e Name Last Name

. Additionai mortgage payments for your residence, such as home equity loans

. Utilitias:

ea. Eiectricity, heat, natural gas

sb. Water, sewer, garbage collection

se Teiephone, cell phone, intemei, satellite, and cable services
Sd. Other. Specify:

 

, Food and housekeeping supplies

. Childcare and children's education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

Transportation. include gas, maintenance bus or train tare.
Do not include car paymentsl

Entertainment, ciubs, recreation, newspapers, magazines, and books
Charltabie contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance
isn Hea|lhinsurance
15c. Vehicie insurance

15d. Other insurancel Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease paymen\s:
i?a. Car payments for Vehicie 1
trb. Car payments for Vehicie 2
rtc Other. Specify:

 

17ci. Other. Specify:

 

Case number (irimawn)

Your payments of aiimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule l, Yourincome (Official Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule i: Your income.

20a Mortgages on other property

zob. Real estate taxes

20c. Property, homeownei“s, or renter’s insurance
zod. l\/iaintenance, repair, and upkeep expenses

zoe, Homeowners association or condominium dues

Ofticial Form 106J Schedule J: Your Expenses

6a
Bb.
6c.

Sd.

iD.

11.

12.
13.

14.

15a.
15b.
15c.

15d.

16_

17a
l?l).
1`!c.

17d.

19.

203.

ZOb.

2Cic.

20d.

2iJe.

YOUI’ expenses

$

$'EB€H$€BEH{B€HM€B

6969€969

MEB€H€H

M'SQ€D%$

100.00
50.00
50.00

200.00

50

GC)C)O OOCJO

OOOO

ODCJCO

page 2

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Debtor1 John Claude Bodziak

First Name Midi:i|e Name Last Name

Case number iiri<rrowni

21. Other. Specify: 21. +$

22. Calcu|ate your monthly expenses

. .Oa j
22a Ariri iirres 4 through 21. zza_ g 3 5 5 O §
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofiiciai Form 106J-2 zzb. l $ l
22c. Add line 22a and 22b. The result is your monthly expenses 22r:. ` $ 550 ` CD §

23. Calculate your monthly net income.

 

$ 1,192.00
23a Copy line 12 (your combined monthly income) from Schedule l. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. _ $ 550'0°
23<:. Subtract your monthly expenses from your monthly income. 64 9 _ 90

The resuii is your monthly net income. 23a 3

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you ile this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modilication to the terms of your mortgage?

No.
n Y€S- Expiain here:

Uncertain at this time.

Ofiicia| Form 106J Schedule J: Your Expenses page 3

